   Case 8:04-cr-00235-DKC    Document 2006       Filed 06/24/20   Page 1 of 11


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                      :
UNITED STATES OF AMERICA
                                      :

     v.                               : Criminal Case No. DKC 04-0235-5

                                      :
JOHN ALBERT MARTIN, JR.
                                      :

                            MEMORANDUM OPINION

     John Albert Martin is serving a 375-month sentence imposed

by Judge Roger W. Titus in April 2006, for conspiracy to distribute

and possess with intent to distribute controlled substances.                     The

offense conduct concluded in June 2004.            He has filed a Motion to

Reduce    Sentence   Pursuant    to       18   U.S.C.    §    3582(c)(1)(A)(i)

(Compassionate Release), or in the Alternative, for Imposition of

a Reduced Sentence pursuant to Section 404 of the First Step Act.

(ECF Nos. 1979, 1981).      The Government filed an opposition, (ECF

Nos. 1992, 1994), and Mr. Martin replied.               (ECF No. 2004).1         For

the following reasons, the motion for compassionate release will

be granted, rendering the request for alternative relief moot.

     Ordinarily,     “[t]he     court      may    not    modify     a   term      of

imprisonment once it has been imposed.”                 18 U.S.C. § 3582(c)

(2018).    This general rule is subject to certain exceptions,


     1  The motions to seal (ECF Nos. 1980, 1993) are GRANTED.
The personal medical information should remain private, except as
recited herein. The motion for leave to file brief in excess of
35 pages (ECF No. 1980) also is GRANTED.
   Case 8:04-cr-00235-DKC   Document 2006    Filed 06/24/20   Page 2 of 11


including the compassionate release provision, which allows the

Bureau of Prisons (“BOP”) to seek a modification of a prisoner’s

sentence.    See id. § 3582(c)(1)(A).       Under the First Step Act of

2018, the compassionate release provision was modified to allow

prisoners to seek a sentencing reduction directly from the court.

The provision now provides, in relevant part, that:

                  The court may not modify a term of
            imprisonment once it has been imposed except
            that:

                 (1)   in any case that—

                  (A) the court, upon motion of the
            Director of the Bureau of Prisons, or upon
            motion of the defendant after the defendant
            has fully exhausted all administrative rights
            to appeal a failure of the Bureau of Prisons
            to bring a motion on the defendant’s behalf or
            the lapse of 30 days from the receipt of such
            request by the warden of the defendant’s
            facility, whichever is earlier, may reduce the
            term of imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that—

                  (i) extraordinary     and          compelling
            reasons warrant such a reduction;

                  (ii) the defendant is at least 70 years
            of age, has served at least 30 years in prison,
            pursuant to a sentence imposed under section
            3559(c), for the offense or offenses for which
            the defendant is currently imprisoned, and a
            determination has been made by the Director of
            the Bureau of Prisons that the defendant is
            not a danger to the safety of any other person
            or the community, as provided under section
            3142(g);

                                   2
   Case 8:04-cr-00235-DKC   Document 2006   Filed 06/24/20   Page 3 of 11



          and that such a reduction is consistent with
          applicable policy statements issued by the
          Sentencing Commission[.]


Judge Hollander described the next step of the analysis as follows:

                Accordingly, in order to be entitled to
          relief under 18 U.S.C. § 3582(c)(1)(A)(i), a
          defendant    must    demonstrate    that   (1)
          “extraordinary    and    compelling   reasons”
          warrant a reduction of the sentence; (2) the
          factors set forth in 18 U.S.C. § 3553(a)
          countenance a reduction; and (3) the sentence
          modification is “consistent” with the policy
          statement issued by the Sentencing Commission
          in U.S.S.G. § 1B1.13.

                U.S.S.G. § 1B1.13 is titled “Reduction
          in Term of Imprisonment under 18 U.S.C. §
          3582(c)(1)(A) Policy Statement.”    The text
          mirrors the statute.   Application Note 1 of
          U.S.S.G. § 1B1.13 defines “Extraordinary and
          Compelling Reasons” in part as follows
          (emphasis added):

               1. Extraordinary and Compelling Reasons.
          Provided the defendant meets the requirements
          of   subdivision   (2),   extraordinary   and
          compelling reasons exist under any of the
          circumstances set forth below:

                (A) Medical Condition of the Defendant.—

               (i) The defendant is suffering from a
          terminal illness (i.e., a serious and advanced
          illness with an end of life trajectory). A
          specific prognosis of life expectancy (i.e.,
          a probability of death within a specific time
          period) is not required.     Examples include
          metastatic solid-tumor cancer, amyotrophic
          lateral sclerosis (ALS), end-stage organ
          disease, and advanced dementia.

                (ii) The defendant is—



                                   3
Case 8:04-cr-00235-DKC   Document 2006   Filed 06/24/20   Page 4 of 11


            (I) suffering from a serious physical or
       medical condition,

            (II) suffering from a serious functional
       or cognitive impairment, or

            (III)     experiencing      deteriorating
       physical or mental health because of the aging
       process, that substantially diminishes the
       ability of the defendant to provide self-care
       within the environment of a correctional
       facility and from which he or she is not
       expected to recover.

            Other    extraordinary    and    compelling
       reasons include the age of the defendant
       (Application     Note    1(B))     and    Family
       Circumstances     (Application    Note    1(C)).
       Application Note 1(D) permits the court to
       reduce a sentence where, “[a]s determined by
       the Director of the Bureau of Prisons, there
       exists   in     the    defendant’s     case   an
       extraordinary and compelling reason other
       than, or in combination with, the reasons
       described in subdivisions (A) through (C).”
       U.S.S.G. § 1B1.13 App. Note 1(D).

             The BOP regulation appears at Program
       Statement        5050.50,       Compassionate
       Release/Reduction in Sentence: Procedures for
       Implementation of 18 U.S.C. §§ 2582 and 4205.
       The Guideline policy statement in U.S.S.G. §
       1B1.13, along with the application notes, and
       BOP    Program   Statement   5050.50   define
       “extraordinary and compelling reasons” for
       compassionate release based on circumstances
       involving illness, declining health, age,
       exceptional family circumstances, as well as
       “other reasons.”

             On March 26, 2020, Attorney General
       William Barr issued a memorandum to Michael
       Carvajal, Director of the BOP, directing him
       to prioritize the use of home confinement for
       inmates at risk of complications from COVID-
       19. See Hallinan v. Scarantino, 20-HC-2088-
       FL, 2020 WL 3105094, at *8 (E.D.N.C. June 11,
       2020).   Then, on March 27, 2020, Congress

                                4
   Case 8:04-cr-00235-DKC   Document 2006     Filed 06/24/20   Page 5 of 11


           passed the Coronavirus Aid, Relief, and
           Economic Security Act (the “CARES Act”), Pub.
           L. No. 116-136, 134 Stat. 281. In relevant
           part, the CARES Act authorized the Director of
           BOP to extend the permissible length of home
           confinement to any inmate....” Id.
                 The Department of Justice (“DOJ”) has
           recognized the unique risks posed to inmates
           and BOP employees from COVID-19.      The DOJ
           recently adopted the position that an inmate
           who presents with one of the risk factors
           identified by the CDC should be considered as
           having an “extraordinary and compelling
           reason” warranting a sentence reduction. See
           also U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).

United States v. Gary Kess, Jr., No. CR ELH-14-480, 2020 WL

3268093, at *3–4 (D. Md. June 17, 2020) (footnote omitted).

     The defendant argues that he meets the “extraordinary and

compelling reasons” standard in two ways.         First, he contends that

he meets the criteria under U.S.S.G. §1B1.13 commentary note 1(B)

based on his age (65), the serious deterioration of his health,

and the length of time he has already served.            Alternatively, he

argues that those factors, combined with the ongoing COVID-19

pandemic, meet the standard under commentary note 1(D).

     Application    note    1(B)   provides     that    extraordinary         and

compelling reasons exist where a defendant (1) is at least 65 years

old, (2) is experiencing a serious deterioration in physical or

mental health because of the aging process, and (3) has served at

least 10 years or 75 percent of his term of imprisonment, whichever

is less.   Mr. Martin satisfies the first and third criteria:                 he

is 65 years old and has served nearly 16 years of his sentence.


                                    5
   Case 8:04-cr-00235-DKC   Document 2006   Filed 06/24/20   Page 6 of 11


His physical health situation is less clear.           He states that he

has required chronic care since January 2017, is limited to

residing in a lower bunk in a cell on the first floor, and has

been restricted from work requiring prolonged standing.            He lists

his specific medical conditions (including hypertension, stage 3

chronic kidney disease, hyperlipidemia, a hernia, and cataracts),

claiming that he meets each requirement under 1B1.13 commentary

note 1(B).    (ECF No. 1981 at 13).     The Government, in contrast,

contends that Mr. Martin’s medical issues are stable and responding

well to treatment, and that the chronic conditions are well

controlled.   It states that he is able to function sufficiently in

general population, does not need adaptive equipment to walk, and

has not demonstrated a diminished ability to provide self-care.

The Government points to his Individualized Reentry Plan and

progress reports as evidence that he does not meet the criteria

for compassionate release.     (ECF No. 1991 at 11-12).

     With regard to the argument that the addition of the risks

posed by COVID-19 pandemic supports a finding of extraordinary and

compelling reasons for release, the Government points out that

there currently are no cases in the facility where Mr. Martin is

housed.   The Government’s response was filed on June 1 and, in

these rapidly evolving circumstances, might have been filed before

the most recent position noted in Judge Hollander’s opinion was

fully communicated.    In any event, the happy fact that there have


                                   6
   Case 8:04-cr-00235-DKC   Document 2006   Filed 06/24/20   Page 7 of 11


been no positive tests yet at the facility does not prevent the

finding of extraordinary and compelling reasons for release.

     The combination of factors, age, health conditions, COVID-19

risk, as well as length of time already served, and the changing

sentencing landscape justify granting compassionate release to Mr.

Martin. Furthermore, Mr. Martin is also eligible for consideration

under Section 404 of the First Step Act.

     The Fair Sentencing Act of 2010 was signed into law on

August 3, 2010.    It did not apply to those sentenced before its

effective date.      The First Step Act was adopted in 2018, and

provides that, notwithstanding Dorsey v. United States, 567 U.S.

260 (2012), certain persons may seek a retroactively reduced

sentence.     Section 404(b) provides:       “A court that imposed a

sentence for a covered offense may . . . impose a reduced sentence

as if sections 2 and 3 of the Fair Sentencing Act of 2010 were in

effect at the time the covered offense was committed.”              Section

404(a) defines a “covered offense” as a violation of a federal

criminal statute, the statutory penalties for which were modified

by section 2 or 3 of the Fair Sentencing Act, that was committed

before August 3, 2010.      There are limitations, however, outlined

in Section 404(c):

            No court shall entertain a motion made under
            this section to reduce a sentence if the
            sentence was previously imposed or previously
            reduced in accordance with the amendments made
            by Sections 2 and 3 of the Fair Sentencing Act
            of 2010 or if a previous motion made under

                                   7
   Case 8:04-cr-00235-DKC       Document 2006    Filed 06/24/20     Page 8 of 11


             this section to reduce the sentence was, after
             the date of enactment of this Act, denied
             after a complete review of the motion on the
             merits.

     Section 2 of the Fair Sentencing Act altered the quantity

threshold for the mandatory minimums in 21 U.S.C. § 841, and

Section 3 eliminated the mandatory minimum for simple possession.

In United States v. Wirsing, 943 F.3d 175, 185-86 (4th Cir. 2019),

the United States Court of Appeals for the Fourth Circuit concluded

that a person is eligible if he was sentenced under 21 U.S.C. §

841(a) and (b)(1)(A)(iii) or (B)(iii).                   In    United States v.

Gravatt, 953 F.3d 258, 262-64 (4th Cir. 2020), the Fourth Circuit

held that a defendant remains eligible under the Act even if the

conspiracy for which he was convicted encompassed distribution of

both cocaine powder and crack cocaine.

     Mr. Martin asserts that his sentence can and should be

reduced to 240 months (the still applicable mandatory minimum)

because the statutory penalty for his violation of 21 U.S.C.

§841(b)(1)(A)(iii) was modified by the Fair Sentencing Act, and

the sentencing factors under § 3553(a) justify that reduction.                     He

points to his family history, history of addiction, pursuit of

vocational     training,    self-improvement,        drug       education,     non-

residential drug abuse treatment while incarcerated, and dated

criminal     history,      as    aspects    of     his        own   history        and

characteristics.    He describes his limited personal involvement in

the offense, the arguably now-applicable sentencing guidelines,

                                       8
   Case 8:04-cr-00235-DKC     Document 2006     Filed 06/24/20    Page 9 of 11


the sentences imposed (and reduced) on others, and sentences that

would be imposed today for similar conduct, as relevant factors.

     The Government objects to any relief, preserving its argument

that he is not eligible because of the actual amount of drugs

determined   to   be    involved   and   the    multi-drug       nature   of     the

conspiracy. Somewhat incredibly, it also argues that the § 3553(a)

factors counsel against any reduction.            Particularly in light of

the sentence reductions for others that have happened over the

years, and the CARES Act releases to home detention of some

defendants, it is particularly appropriate to reduce Mr. Martin’s

sentence under the First Step Act/Fair Sentencing Act. As a career

offender,    he   was   not   eligible    for    the    guideline      reduction

adjustments granted to some of the others.             Now, under the First

Step Act, he is eligible for consideration and, were he not also

deserving of compassionate release, his sentence would be reduced

to the mandatory minimum of 20 years.

     Regardless of the mechanism for consideration of a reduced

sentence, the court examines the factors under § 3553(a).                  By the

time Mr. Martin engaged in the criminal conduct in this case, he

was nearing 50 years of age.         His significant criminal history

included two convictions during his 20’s in state court for armed

robbery, the second of which violated his probation for the first.

He served approximately 8 years incarcerated in the 1980’s, being

released on parole on November 28, 1988. Later convictions include


                                     9
   Case 8:04-cr-00235-DKC    Document 2006      Filed 06/24/20   Page 10 of 11


possession of CDS in 1996 and 2002, both of which were relevant

conduct for the instant offense.            He became addicted to heroin at

age 15, and began to use crack, powder cocaine, and marijuana in

the early 1990’s.        He completed high school and took electrical

engineering classes at the University of the District of Columbia,

although he did not receive a degree.               His employment history

includes stints as a bus driver with WMATA and with Sparta Tours,

and part-time work at his father’s electronic repair business, as

a car salesman, and as a service technician for a telephone

company.     He says he comes from a close-knit family and has

provided letters from family and friends who are supportive. While

incarcerated, Mr. Martin has pursued vocational training, taken

self-improvement     courses,    and    completed       drug     education       and

treatment.   He is now in a low-security facility.

     Although      the    charged   conspiracy        involved      significant

quantities of cocaine and heroin and lasted several years, there

was no violence involved, and Mr. Martin’s role was minor (or at

least much less significant than others).             He argues that, under

current law, he would not be considered to be a career offender,

and the applicable guideline range would be lower.               At the time of

original sentencing, Judge Titus undoubtedly evaluated the roles

of all involved in determining the appropriate sentence for Mr.

Martin.    Many of the longer sentences imposed on co-defendants

have been reduced, and two are now on home detention for the


                                       10
      Case 8:04-cr-00235-DKC    Document 2006    Filed 06/24/20   Page 11 of 11


remainder of their reduced sentences.                  They include Paulette

Martin, original sentence of life in prison, reduced to 360 months,

now on home detention pursuant to the CARES Act; Luis Felipe

Mangual, life sentence reduced to 480 months; and Gwendolyn Maria

Levi originally sentenced to 400 months, reduced to 292 months,

and now on home detention pursuant to the CARES Act. They and

others     also    have   motions     pending   or   anticipated    for   further

reductions.

        Mr. Martin has already served a sufficiently lengthy sentence

to provide just punishment for his conduct, and to serve as a

warning to himself and others to refrain from any similar conduct

in the future.       He is no longer a danger to the community and has

demonstrated during his incarceration an ability to be productive

and       law-abiding,         with     relatively      minor       disciplinary

transgressions.       His age and medical conditions, particularly in

light of the ongoing public health emergency, contribute to the

conclusion that it is time for him to transition back to the

community.        By separate order and amended judgment, Mr. Martin’s

sentence will be reduced to time served, plus 14 days.



                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge




                                         11
